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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 0:20-cv-61759-AHS

  HOWARD COHAN,

         Plaintiff,

  v.

  DENNY’S, INC.
  A Florida Profit Corporation
  d/b/a Denny’s #485,

        Defendant.
  _______________________________/

                                 JOINT NOTICE OF SETTLEMENT

         Plaintiff, Howard Cohan, and Defendant, Denny’s, Inc., hereby notify the Court, that the

  Plaintiff and Defendant (collectively, “Parties”) have resolved the matters in controversy in this

  action. It is anticipated that the Parties will file a stipulation and motion for dismissal with

  prejudice for the Court’s approval within the next thirty (30) days.

   /s/ Gregory S. Sconzo                             /s/ Merry E. Lindberg
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  Cohan v. Denny’s, Inc.
  Case No. 0:20-cv-61759-AHS
  Joint Notice of Settlement

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on October 21, 2020, I electronically filed the foregoing with

  the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing

  to Plaintiff’s counsel Gregory S. Sconzo, Esq., Sconzo Law Office, P.A., 3825 PGA Blvd., Suite

  207, Palm Beach Gardens, FL 33410.


                                                     /s/ Merry E. Lindberg
                                                     Merry E. Lindberg, Esq.
                                                     Florida Bar No. 308102
